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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 LEXINGTON INSURANCE COMPANY,                 §
      Plaintiff,                              §
                                              §
 v.                                           §   CIVIL ACTION NO. 6:23-CV-0016-ADA-JCM
                                              §
 BAYLOR UNIVERSITY,                           §
     Defendant.                               §

            PLAINTIFF’S NOTICE TO COURT OF WRITTEN OFFER OF SETTLEMENT

TO THE HONORABLE UNITED STATES DISTRICT COURT:

       NOW COMES plaintiff Lexington Insurance Company and files this Notice to Court of

Written Offer of Settlement. Pursuant to the Scheduling Order entered by this Court on April 6,

2023 (Dkt. #13), Lexington Insurance Company has submitted a private written offer of settlement

to Baylor University on May 12, 2023.

                                            Respectfully submitted,




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                                            Nicholas K. Low
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                                 CERTIFICATE OF SERVICE

        This is the certify that on May 12, 2023, a true and correct copy of the foregoing was served
via the Court’s Notice of Electronic Filing (NEF) upon defendant’s counsel of record R. Brent
Cooper and Julie A. Shehane, COOPER & SCULLY, PC, 900 Jackson Street, Suite 100, Dallas,
Texas, 75202.




                                               Ellen Van Meir
                                               Nicholas K. Low




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